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 2                                       LINK TO [431]
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 9                     UNITED STATES DISTRICT COURT
10                   CENTRAL DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA ex            Case No. 2:17-cv-04393-RGK-KS
     rel. ISLAND INDUSTRIES, INC.,
13                 Plaintiff,               [PROPOSED] FINAL JUDGMENT
          vs.                               FOLLOWING JURY VERDICT IN
14                                          FAVOR OF PLAINTIFF UNITED
     VANDEWATER INTERNATIONAL,              STATES OF AMERICA AGAINST
15   INC., et al.,                          DEFENDANT SIGMA
                                            CORPORATION
16                 Defendants.              Judge:      Hon. R. Gary Klausner
17                                          Trial Date: October 5, 2021
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                                              [PROPOSED] JUDGMENT FOLLOWING JURY VERDICT
                                                         CASE NO. 2:17-cv-04393-RGK-KS
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